Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 1 of 27




          EXHIBIT A
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 2 of 27

                          MIAMI-DADE COUNTY CLERK OF THE COURTS
                          HARVEY RUVIN
                                                                   contact us    My Account




  CIVIL. FAMILY AND PROBATE COURTS ONLINE SYSTEM

   ~BACK


     FRANCESCO LEFEBVRE D'OVIDIO VS ROYAL CARIBBEAN CRUISES LTD


                          Local Case Number:    2022-009415-CA-01                                                         Filing Date:   05/23/2022


                          State Case Number:    132022CA009415000001                                               Judicial Section:     CA44


                       Consolidated Case No.:   N/A                                                                        Case Type:    Business Transactions


                                 Case Status:   OPEN




     if Parties                                                                                                                                    Total Of Parties: 2   -


    Party Description               Party Name                                   Attorney Information                                           Other Attorney(S)


    Plaintiff                       Lefebvre d'Ovidio, Francesco                 -~ ;_C!li!!..!'!!!...rn!>.£.tl125891
                                                                                 Ji....!l'-..112.!Ilsl)l..~.!!l~Goldfarb, Carl E

    Defendant                       Royal Caribbean Cruises Ltd




     ~ Hearing Details                                                                                                                           Total Of Hearings: 0


    Hearing Date                    Hearing Time                     Hearing Code                          Description                   Hearing Location




     ~   Dockets                                                                                                                                  Total Of Dockets: 3    -


                                                          Docket         Event
                Number       Date         Book/Page       Entry          Type      Comments

                4           05/25/2022                    Receipt:       Event     RECEIPT#:3090117 AMT PAID:$401.00 NAME:GOLDFARB, CARL E 401 E LAS
                                                                                   OLAS BLVD FL 12 FORT LAUDERDALE FL 33301-2210 COMMENT:
                                                                                   ALLOCATION CODE QUANTITY UNIT AMOUNT 3100-CIRCUIT FILING FEE 1
                                                                                   $401.00 $401.00 TENDER TYPE:EFILINGS TENDER AMT:$401.00 RECEIPT
                                                                                   DATE:05/25/2022 REGISTER#:309 CASHIER:EFIUNGUSER


                2           05/23/2022                    Complaint      Event



                            05/23/2022                    Civil          Event
                                                          Cover
                                                          Sheet -
                                                          Claim
                                                          Amount




   ~BACK

  Please be advised:




                                                                                                                                                                             1/2
Case    1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 3 of 27
  The Clerk's Office makes every effort to ensure the accuracy of the following information; however it makes no warranties or representations whatsoever regarding the
    completeness, accuracy, or timeliness of such information and data. Information on this website has been posted with the intent that it be readily available for personal
    and public non-commercial (educational) use and to provide the public with direct online access to information in the Miami-Dade Clerk's Office information systems.
    Other than making limited copies of this website's content, you may not reproduce, retransmit, redistribute, upload or post any part of this website, including the
    contents thereof, in any form or by any means, or store it in any information storage and retrieval system, without prior written permission from the Miami-Dade Clerk's
    Office.

    If you are interested in obtaining permission to reproduce, retransmit or store any part of this website beyond that which you may use for personal use, as defined
    above, visit our Web API Services. You can review the complete Miami-Dade County Disdaimer



                                                                                     General

                                                                                  Online Case Home


                                                                           Civil / Family Courts Information


                                                                                        Login




                                                                            Help and Support

                                                                                    Clerk's Home


                                                                                  Privacy Statement


                                                                                     ADA Notice


                                                                                      Disclaimer


                                                                                      Contact Us


                                                                                      About Us




                                                                            HARVEY RUVIN
                                                                              Miami-Dade County
                                                                               Clerk of the Courts

                                                                               73 W. Flagler Street
                                                                              Miami, Florida 33130

                                                                                  305-275-1155



                                                                  ©2022 Clerk of the Courts. All rights reserved.
                                                                                    HIAM~
                                                                                    = iiill'




                                                                                                                                                                                2/2
Filing Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 4 of 27
       # 150134946   E-Filed 05/23/2022 04:17:32 PM


                    IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA
                             COMPLEX BUSINESS LITIGATION DIVISION


        Francesco Lefebvre d’Ovidio,

                               Plaintiff,
                                                               Case No. ___________________
        v.
                                                               COMPLAINT AND DEMAND FOR
                                                               JURY TRIAL
        Royal Caribbean Cruises, Ltd.,

                               Defendant.



               1.      Plaintiff Francesco Lefebvre d’Ovidio (“Francesco Lefebvre” or “Plaintiff”), by

        and through his undersigned counsel, brings this action against Royal Caribbean Cruises, Ltd.

        (“Royal Caribbean” or “Defendant”).

                                            PRELIMINARY STATEMENT

               2.      This case arises out of Royal Caribbean’s role in a scheme to wrongfully divest

        Francesco Lefebvre of his majority share of the cruise line Silversea Cruise Holding Ltd., its

        subsidiaries, and its assets (“Silversea”).

               3.      In or around 2001, Francesco and Manfredi Lefebvre—Plaintiff’s brother—had a

        dispute concerning a number of assets in which they and other Lefebvre family members have

        ownership interests. At the time, Francesco held a 51.6% interest (and, with his wife, a 52.12%

        total interest) in Eurosecurities Corp., S.A. (“Eurosecurities”), a holding company that owned

        Silversea. In connection with that dispute, Francesco and Manfredi entered into a settlement

        agreement (the “Settlement Agreement”).

               4.      The Settlement Agreement, among other terms, required Francesco to transfer to

        Manfredi (or an entity of his choosing), Francesco’s ownership interest in Eurosecurities (and thus
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 5 of 27




   Silversea). In return, among other obligations, Manfredi was required to (i) transfer to Francesco

   a 48% percent interest in an entity named COIMAR s.p.a. (“COIMAR”), which would have

   provided Francesco a 100% interest in COIMAR (he already held a 52% interest in COIMAR);

   and (ii) cause Eurosecurities and related entities to waive any claims they had against COIMAR

   or its directors.

           5.      The Settlement Agreement identified Manfredi’s foregoing obligations as

   “essential obligations” in addition to certain of Francesco’s obligations.         The Settlement

   Agreement expressly provided that the Settlement Agreement could be terminated if either party

   failed to perform any of their respective “essential obligations.”

           6.      On June 11, 2001, Francesco transferred the Eurosecurities shares that reflected his

   52.12% interest in the company and its holdings to an entity designated by Manfredi, pursuant to

   the Settlement Agreement. Manfredi, however, refused to perform his “essential” obligations

   under the Settlement Agreement.

           7.      As a result, in 2008, Francesco terminated the Settlement Agreement and filed a

   lawsuit in Italy (the “Italy Action”) seeking an order declaring the Settlement Agreement (and any

   transfers pursuant thereto) void ab initio and requiring Manfredi to transfer back to Francesco all

   interests and assets that he had previously transferred to Manfredi pursuant to that agreement.

           8.      Manfredi had dissolved Eurosecurities in the meantime and, instead of complying

   with his obligations to return the stock and related assets that he had wrongfully converted, he

   undertook a series of inter-entity transfers of Silversea capital stock and assets that had no

   legitimate business purpose, and were intended to hide the Silversea stock and assets and to

   obstruct Francesco’s ability to recover those shares and assets, while preserving Manfredi’s control

   over them.



                                                    2
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 6 of 27




              9.    On June 21, 2018, the Supreme Court of Italy issued an order (the “Supreme Court

   Order”) in Francesco’s favor that (i) overturned a previous Court of Appeal’s decision that had

   been in favor of Manfredi; (ii) overwhelmingly rejected Manfredi’s claims that he had fulfilled his

   obligations under the Settlement Agreement and that it (and Francesco’s transfers pursuant thereto)

   remained valid; and (iii) directed the Italian Court of Appeal to decide the case consistent with the

   Supreme Court Order.

              10.   Instead of complying with his obligations, Manfredi negotiated the sale of all of

   Silversea’s capital stock and assets to Royal Caribbean, including the Silversea capital stock that

   Francesco had transferred to Manfredi pursuant to the Settlement Agreement.

              11.   Manfredi pursued this potential transaction with Defendant with an intent of

   hindering Francesco’s ability to obtain restitution of the Silversea stock and assets by removing

   them from Manfredi’s possession and by converting a relatively illiquid asset—the Silversea stock

   and assets—into cash, which could be more easily transferred and concealed.

              12.   In July 2018, Francesco’s counsel spoke and exchanged correspondence with Royal

   Caribbean’s counsel before it closed on its acquisition of Silversea. Francesco (i) provided Royal

   Caribbean a copy of the Supreme Court Order and his pleading underlying that order, (ii) explained

   the facts and circumstances surrounding Francesco’s rightful ownership and control of Silversea,

   (iii) objected to Royal Caribbean moving forward with the transaction, and (iv) warned Royal

   Caribbean repeatedly that Manfredi did not own all of the stock and assets that he was purporting

   to sell.

              13.   Despite its knowledge that Manfredi did not own the Silversea stock and assets,

   and that Plaintiff was the rightful owner, Royal Caribbean proceeded with its acquisition of the

   stock and assets. On July 31, 2018—just five weeks after the Supreme Court Order was issued—



                                                    3
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 7 of 27




   Royal Caribbean closed on a transaction with Manfredi to obtain 67.7% of Silversea’s capital stock

   along with its assets, and obtained the remaining 33.3% two years later, on July 9, 2020 (the

   “Silversea Transfers”). All along, Royal Caribbean has rejected Francesco’s entitlement to his

   52.12% share of Silversea.

            14.    Francesco thus brings this action to ensure that he is able to achieve full restitution

   despite Royal Caribbean’s and Manfredi’s efforts to prevent him from doing so and to hold Royal

   Caribbean to account for its unlawful acquisition of Francesco’s assets.

                                             THE PARTIES

            15.    Francesco Lefebvre d’Ovidio is an individual citizen of Italy, residing in Rome,

   Italy.

            16.    Royal Caribbean is a corporation organized and existing under the laws of the

   Republic of Liberia, with its principal place of business in Miami, Florida.

                                             JURISDICTION

            17.    This Court has jurisdiction pursuant to Section 26.012, Florida Statutes. Pursuant

   to Administrative Order No. 17-11, this case is subject to mandatory assignment in the Complex

   Business Litigation Division because the amount in controversy exceeds seven hundred and fifty

   thousand and 00/100 dollars (USD 750,000), exclusive of interest, costs and attorneys’ fees.

            18.    The Court has personal jurisdiction over Royal Caribbean, pursuant to Section

   48.193(2), Florida Statutes, because Royal Caribbean engages in substantial and not isolated

   activity within this state.

            19.    The Court also has personal jurisdiction over Royal Caribbean pursuant to Section

   48.193(1)(a), Florida Statutes, because the causes of action in this Complaint arise from Royal




                                                     4
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 8 of 27




   Caribbean’s operating, conducting, engaging in, or carrying on a business or business venture in

   this state or having an office or agency in this state, or committing a tortious act within this state.

                                                  VENUE

          20.     Venue is proper in Miami-Dade County, Florida pursuant to Section 47.011 and

   47.051, Florida Statutes, because Royal Caribbean resides or conducts business in Miami-Dade

   County, the cause of action accrued in Miami-Dade County, and/or a substantial part of the events

   or omissions giving rise to the claims set forth in this Complaint occurred in Miami-Dade County.

                                      FACTUAL ALLEGATIONS

   I.     The Settlement Agreement

          21.     In 1998, Francesco Lefebvre was the majority owner of Eurosecurities Corp, S.A.

   (Eurosecurities), a Luxembourg holding company. Other shareholders in Eurosecurities included

   Francesco’s sister, Elvira Lefebvre, and his mother, Eugenia Beck.

          22.     Eurosecurities owned shares in various other companies.              Those ownership

   interests included 100% of the shares of Silversea Holding Ltd. Silversea Holding Ltd. wholly-

   owned its direct subsidiary Silversea Cruises Holding Ltd. and its indirect subsidiary, Silversea

   Cruises Ltd. Silversea Holding Ltd. also owned other assets, including cruise ships.

          23.     On December 22, 1998, the Lefebvre family entered into a merger agreement (the

   “Family Merger Agreement”). Among other terms, the Family Merger Agreement provided that

   the parties would transfer to a new company named Lefco Ltd. (Bahamas) (“Lefco”): (i) 100% of

   the shares of Eurosecurities (together with all of its subsidiaries and assets); and (ii) 100% of the

   shares of an entity named Befco Holding S.A. The Family Merger Agreement provided that each

   of Francesco and Manfredi Lefebvre (who was then not a shareholder of Eurosecurities) would




                                                      5
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 9 of 27




   have indirect 31% interests in Lefco, Eugenia Beck would have an indirect 24% interest in Lefco,

   and Elvira Lefebvre would have a 14% interest in Lefco.

          24.     Before the definitive documents for the Family Merger Agreement were executed,

   however, Francesco Lefebvre and Manfredi Lefebvre had a dispute. As a result, Francesco

   declined to move forward with the Family Merger Agreement and offered instead to find a

   different path forward for the family’s assets.

          25.     In response, Manfredi initiated an arbitration against Francesco, as well as other

   lawsuits in Italy and Luxembourg, the purpose of which were to frustrate Francesco’s ability to

   manage Eurosecurities and Silversea, causing significant harm to those entities.

          26.     On May 30, 2001, Francesco and Manfredi entered into a settlement agreement (the

   Settlement Agreement), which the other Lefebvre family members also executed.

          27.     The key terms of the Settlement Agreement included:

                  A. The Family Merger Agreement was terminated;

                  B. Francesco agreed to transfer 52.12% of Eurosecurities to Manfredi or to an
                     entity indicated by him;

                  C. Manfredi agreed to cause Eurosecurities to transfer to Francesco certain assets
                     owned and/or controlled by Eurosecurities including:

                      i. Causing Elite Merchant Ltd. to transfer its 48% interest in COIMAR s.p.a.;

                      ii. Transferring ownership of a building in Rome, Italy (in exchange for an
                          entity of Francesco’s designation paying 10 billion Lira for the building);

                      iii. Transferring a 100% interest in a company named San Giorgio Immobiliare
                           s.r.l., an owner of property near Rome, Italy; and

                      iv. Transferring a 100% interest in a company named ZUKI, s.r.l., an owner of
                          another property near Rome, Italy.

                  D. Manfredi also agreed to:

                      i. Transfer all rights and claims that Eurosecurities or Elite Merchant Ltd.
                         possessed against COIMAR or its shares to Francesco;


                                                     6
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 10 of 27




                      ii. Cause those entities to waive any such rights and claims; and

                      iii. Waive and settle any claims that Eurosecurities or any of its subsidiaries
                           (including a company named Sitav S.p.A. (“Sitav”)) had against Francesco
                           or any of those entities’ other directors, including in connection with any
                           pending proceedings.

          28.     Each of the obligations that Manfredi had agreed to were material to the Settlement

   Agreement. For instance, before the Settlement Agreement, Francesco owned 52% of COIMAR.

   Manfredi’s obligation to transfer 48% of COIMAR would therefore provide Francesco a 100%

   ownership interest in COIMAR. At the time, COIMAR possessed assets valued at approximately

   €80 million, but Eurosecurities had potential claims against COIMAR that could have been valued

   at approximately €137 million.

   II.     Plaintiff Transfers the Silversea Shares and Assets to Manfredi, but Manfredi
           Refuses to Perform under the Settlement Agreement

          29.     On June 11, 2001, Francesco transferred his and his wife’s collective 52.12%

   interest in Eurosecurities (and thus Silversea) to Manfredi.

          30.     Manfredi, however, refused to perform at least three material obligations he had

   under the Settlement Agreement: (1) Manfredi did not transfer (or cause to be transferred) the

   100% interest in Elite Merchant Ltd. (and thus the 48% interest in COIMAR); (2) Manfredi did

   not transfer (or cause to be transferred) the rights and claims that Eurosecurities had against

   COIMAR or cause Eurosecurities to waive any such rights; and (3) Manfredi did not waive

   potential claims that a Eurosecurities affiliate, Sitav, purported to have against Francesco, or cause

   Sitav to waive such claims.

          31.     In addition, not only did Manfredi fail to perform these obligations, but he caused

   Eurosecurities entities to continue to prosecute claims against Francesco. Those claims included

   Sitav’s alleged claims against its former directors, including Francesco, in which Sitav sought

   approximately €16 million in damages. In 2002, Manfredi caused Sitav to file a lawsuit asserting

                                                     7
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 11 of 27




   those claims and sought an order freezing Francesco’s real estate assets. In 2007, the Court of

   Rome dismissed Sitav’s claim, finding that it was a meritless attempt by Manfredi to harm

   Francesco. However, Manfredi caused the claim to be transferred from Sitav to another company

   he controls, named Felsted, to appeal that decision. In another instance, in July 2007, Manfredi

   caused an entity he controls named Vera Limited to initiate a lawsuit in the Court of Rome on

   behalf of Eurosecurities and against COIMAR asserting €137 million in damages and seeking an

   additional €50 million in interest. These were exactly the types of claims that Manfredi had already

   expressly agreed to release in the Settlement Agreement.

          32.     Each of the obligations that Manfredi failed to perform were identified as “essential

   obligations” in the Settlement Agreement and their collective monetary value exceeded €200

   million. The Settlement Agreement expressly provided that it could be terminated based on a

   party’s failure to perform any of the obligations that had been identified as “essential.”

          33.     On January 29, 2008, accordingly, after Manfredi caused Felsted and Vera Limited

   to pursue claims against COIMAR and Francesco in violation of the Settlement Agreement,

   Francesco notified Manfredi of the termination of the Settlement Agreement due to Manfredi’s

   failure to perform his essential obligations under that agreement.

          34.     On February 29, 2008, Francesco filed a lawsuit against Manfredi in the Civil Court

   of Bologna (the Italy Action) seeking an order under Italian law (i) finding that Manfredi had not

   fulfilled some of his “essential” obligations under the Settlement Agreement; (ii) finding that the

   Settlement Agreement and his transfer of his 52.12% interest in Eurosecurities (and thus Silversea)

   was therefore void ab initio; (iii) ordering restitution in the form of Manfredi returning to

   Francesco his 52.12% interest in Silversea plus the value of the other assets that Francesco




                                                     8
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 12 of 27




   transferred to Manfredi pursuant to the Settlement Agreement 1; and (iv) in the alternative, ordering

   Manfredi to pay to Francesco the value of Francesco’s 52.12% interest in Eurosecurities, plus the

   value of the other assets that Francesco transferred or (caused to be transferred) to Manfredi

   pursuant to the Settlement Agreement.

            35.      In the meantime, Manfredi undertook a series of transfers to insulate the Silversea

   stock and assets from Francesco’s efforts to obtain restitution. For example, under the Settlement

   Agreement, Manfredi designated Triani Corp. S.A. (Luxembourg) (“Triani”) as the entity to which

   Francesco should cause the Eurosecurities shares to be transferred. Triani was a shell company

   under Manfredi’s control that had no assets. Shortly after Triani received the Eurosecurities shares

   on or around June 11, 2001, it transferred them to a Panamanian company named Despina Trading

   S.A. (Panama) (“Despina”). Manfredi controlled Despina. Its Director, Treasurer, and Secretary

   was Georgio Scelsi, an employee of Manfredi.

            36.      On May 5, 2004, Eurosecurities Corp. S.A. was liquidated and dissolved and an

   entity named Vera Limited was appointed as its liquidator. The director of Vera Limited was an

   entity named Bahamatex Ltd. In 2009, after Francesco terminated the Settlement Agreement and

   initiated the Italy Action, Manfredi and his sister Elvira Lefebvre entered into an agreement

   whereby an entity they controlled—Elle Group (Bahamas)—would become the owner of the

   Silversea entities. Manfredi then caused Elle Group (Bahamas) to transfer its legal domicile to

   Switzerland and to become Elle Group S.A. (Lugano), which continued to own Silversea.

   Manfredi possessed a 67% controlling interest over Elle Group (in its Bahamian and Swiss forms)

   indirectly through a trust called EMME TRUST and a holding company named



   1
     As noted below in Paragraph 36, Eurosecurities was liquidated and dissolved in 2004. As a consequence, the shares
   in the Eurosecurities subsidiaries—including Silversea—were transferred to other entities controlled by Manfredi.
   Francesco therefore seeks the return of his share of Eurosecurities’ assets, including his 52.12% share of Silversea.

                                                            9
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 13 of 27




   HOLDINGEMME. Elvira held the remaining 33% interest through a trust named ELLE TRUST

   and a holding company named HOLDINGESSE.

           37.     None of these transactions had a legitimate business purpose. None of these

   transfers were made in exchange for reasonable consideration and all of them were transfers

   between entities controlled by Manfredi himself. The purported “trusts” that controlled Silversea

   had the same trustee—SG Services—which had no offices, no employees, and was owned and

   managed by Giorgio Scelsi—the same individual that had operated Despina and, again, an

   employee of Manfredi. These transfers thus amounted to a shell game where Manfredi—without

   any legitimate business purpose—moved the Silversea shares and assets into entities that were

   increasingly remote, making it increasingly difficult for Francesco to recover them and obtain

   restitution.

           38.     Sometime prior to July 31, 2018, Manfredi again caused the Silversea shares and

   assets to be transferred yet again, this time to an entity named Heritage Cruise Holding Ltd. f/k/a

   Silversea Cruises Group Ltd. (“Heritage”). Manfredi controlled Heritage through his trust after he

   had merged Heritage with Elle Group, the prior owner of Silversea.

  III.       The Supreme Court of Italy Issues an Order Favoring Plaintiff’s Ownership of
             Silversea but Manfredi and Royal Caribbean Deprive Plaintiff of His Interest

           39.     During the time Manfredi was going to great lengths to conceal the Silversea shares

   and assets from Francesco, the Italy Action was progressing. On January 8, 2015, the Court of

   Appeal of Bologna issued a decision finding that Manfredi had fulfilled his obligations under the

   Settlement Agreement, that the Settlement Agreement thus remained valid, and Francesco was

   therefore not entitled to restitution of his shares in Eurosecurities or their value.

           40.     On June 21, 2018, however, the Supreme Court Order was issued and it (i) reversed

   the decision of the Court of Appeal; (ii) overwhelmingly rejected Manfredi’s claims that he had


                                                     10
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 14 of 27




   fulfilled his obligations and that the Settlement Agreement remained valid and (iii) directed the

   Italian Court of Appeal to decide the case consistent with the Supreme Court’s ruling.

          41.     The Italian Court of Appeal will decide the case by complying with the Supreme

   Court decision. As a result, it is essentially a foregone conclusion that, given the stringent limits

   imposed by the Supreme Court, the Italian Court of Appeal will issue a final judgment finding that

   (i) Manfredi did not comply with some of his essential obligations and (ii) the Settlement

   Agreement and Francesco’s transfers pursuant thereto were therefore void ab initio and Francesco

   was, and always has been, the legitimate owner of 52.12% of Eurosecurities and thus, the

   legitimate owner of 52.12% of Silversea with the power to control Silversea and its assets or,

   alternatively, that he is entitled to the monetary value of that stock plus accrued revenues and

   interest, which exceeds €800 million.

          42.     Again, rather than complying with his obligations, Manfredi entered into

   negotiations with Royal Caribbean concerning a potential transaction whereby Manfredi would

   cause Heritage to transfer the Silversea stock and assets to Royal Caribbean and away from

   Francesco.

          43.     Manfredi pursued this transaction while the Italy Action was pending and even after

   the Supreme Court Order was issued on June 21, 2018. The transaction presented strategic benefits

   to Manfredi: it would (i) frustrate Francesco’s claim for restitution by removing those assets from

   Manfredi’s possession or control; and (ii) convert relatively illiquid assets—the Silversea capital

   stock and assets—into more liquid assets, including cash, that could be more readily transferred

   and concealed so as to obstruct and frustrate Francesco’s judgment enforcement efforts.




                                                    11
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 15 of 27




             44.   After learning of that potential transfer, Francesco repeatedly told Royal Caribbean

   that Manfredi and Heritage did not own the stock and assets they were purporting to be able to

   transfer to Royal Caribbean and that the stock and assets were subject to restitution to Plaintiff.

             45.   On July 20, 2018, for instance, Plaintiff’s counsel at Foley & Lardner LLP spoke

   by telephone and email with Royal Caribbean’s counsel at Skadden, Arps, Slate, Meagher & Flom

   LLP (“Skadden”), notifying them of the Italy Action and the Supreme Court Order ruling in favor

   of Plaintiff’s ownership of Silversea and his claim for restitution.

             46.   On the same date, Francesco’s counsel spoke by telephone and email with

   Manfredi’s counsel in connection with the potential Royal Caribbean transaction. Manfredi’s

   counsel falsely claimed that the Italy Action concerned only monetary relief.            In fact, as

   Francesco’s counsel explained, he was the rightful owner of 52.12% of Silversea and its assets and

   was seeking, through the Italy Action, the restitution of those shares and the related assets.

             47.   On July 22, 2018, Francesco’s counsel spoke to Royal Caribbean’s counsel and

   again informed them about (i) Francesco’s ownership of and claim for restitution of Silversea’s

   stock and assets; (ii) Manfredi’s partial ownership in the stock and assets and his unlawful efforts

   to gain complete control of Silversea; and (iii) the Supreme Court Order’s rejection of Manfredi’s

   claims.

             48.   On July 27, 2018, Francesco’s counsel emailed Royal Caribbean’s counsel to once

   again notify them of his ownership interest in Silversea. Francesco’s counsel also provided Royal

   Caribbean’s counsel a copy of the pleading underlying the Italy Action, which detailed the facts

   establishing Francesco’s ownership interest in Silversea and Manfredi’s unlawful attempts to

   divest him of those interests.




                                                    12
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 16 of 27




          49.     By July 27, 2018, accordingly, Royal Caribbean knew that Manfredi was trying to

   transfer and assert control over stock and assets that he did not own, knew that those assets were

   subject to restitution to Francesco, and knew that Manfredi was attempting to transfer them in view

   of a substantial debt to Francesco he would be incurring.

          50.     Nevertheless, in the face of those facts, Royal Caribbean acted in concert with

   Manfredi to transfer Silversea’s capital stock and assets away from Plaintiff (the “Silversea

   Transfers”). Manfredi and Royal Caribbean knew that the Supreme Court Order meant that he

   faced a substantial debt to Francesco and would be forced to transfer those shares to Francesco in

   recognition of his rightful ownership of 52.12% of Silversea.

          51.     Accordingly, on July 31, 2018, Royal Caribbean purported to acquire 66.7% of the

   capital stock of Silversea and all its assets from Heritage and undertook the obligation to acquire

   the remaining 33.3% at a later date, notwithstanding its knowledge of (i) the facts and

   circumstances underpinning Francesco’s ownership of 52.12% of Silversea; (ii) Manfredi’s failure

   to perform essential obligations pursuant to the Settlement Agreement; and (iii) the June 21, 2018,

   order of the Italy Supreme Court reversing the Court of Appeal’s decision in favor of Manfredi,

   thus making clear that Manfredi would be forced to transfer the Silversea shares back to Francesco.

   On July 9, 2020, Royal Caribbean purported to acquire the remaining 33.3% of the capital stock

   of Silversea from Heritage. In addition, Royal Caribbean agreed to transfer to Manfredi certain

   Royal Caribbean stock interests as part of the Silversea Transfers. Those transfers are not complete

   or remain subject to contingencies, at least in part.

          52.     Manfredi thus fraudulently transferred the Silversea stock and assets and removed

   those assets from his possession or control in an attempt to avoid Francesco’s enforcement of a

   judgment against him. Royal Caribbean thus knowingly acquired possession of property that



                                                     13
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 17 of 27




   Manfredi did not legally possess, has derived substantial revenues from that property to which

   Francesco is entitled, and has steadfastly rejected and refused to acknowledge Francesco’s

   entitlement to that property and the rights and benefits that flow from it. Manfredi and Royal

   Caribbean will continue to fraudulently possess and benefit from the Silversea stock and assets

   unless and until there is an injunction and/or order of attachment that prevents the dissipation of

   those assets.

          53.      Francesco will suffer irreparable harm if Royal Caribbean dissipates, transfers, or

   encumbers the Silversea capital stock or assets. Francesco would be prevented from enforcing a

   judgment for restitution of those assets. Royal Caribbean would be positioned to dissipate those

   assets in a context where it already knowingly participated in Manfredi’s scheme to prevent

   Francesco from securing restitution. In addition, if the Royal Caribbean stock that Manfredi

   possesses or that has yet to be transferred to Manfredi is not restricted, then Manfredi would be

   positioned to dissipate those assets and thus prevent Francesco from enforcing a judgment against

   him.

          WHEREFORE, Plaintiff Francesco Lefebvre prays for judgment against Defendant as set

   forth below.

                                               COUNT I
                   Florida Statutes § 726: Florida Uniform Fraudulent Transfer Act

          54.      Plaintiff re-alleges paragraphs 1-53 as if fully set forth herein.

          55.      Plaintiff is a creditor of Manfredi and Manfredi is a debtor of Plaintiff.

          56.      On July 31, 2018 and on July 9, 2020, Manfredi transferred and caused entities

   within his control to transfer ownership interests in Silversea and its assets to Royal Caribbean.

          57.      The Silversea Transfers were fraudulent under Fla. Stat. § 726.105(1)(a) because

   Manfredi caused those transfers to occur with actual intent to hinder, delay, or defraud Plaintiff.


                                                     14
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 18 of 27




   Manfredi implemented that transaction to prevent Plaintiff from recovering the Silversea capital

   stock and assets to which he is entitled by transferring those assets to Royal Caribbean and out of

   Manfredi’s possession or control.

           58.    The transfers were made while Manfredi, Heritage, and Silversea were subject to

   Plaintiff’s lawsuit concerning the ownership of Silversea’s capital stock and its assets, while claims

   were pending for restitution of Silversea’s capital stock and its assets, and immediately after the

   Supreme Court Order made Plaintiff’s entitlement to those assets clear.

           59.    The transfers were for all of Silversea’s capital stock and assets and for all of

   Manfredi’s and Heritage’s ownership in Silversea and its assets.

           60.    The transfers removed those assets from Manfredi’s ownership and/or control and

   made them more remote in connection with any effort by Francesco to enforce a judgment against

   Manfredi.

           61.    The transfers occurred before the disposition of the Italy Action pursuant to the

   Supreme Court Order favoring Plaintiff’s ownership interest in those assets, and thus before

   Manfredi incurred a substantial debt to Plaintiff.

           62.    Both before and after the transfers, Manfredi purported to control Silversea and its

   assets, including by remaining the Chairman of Heritage and the Chairman of Silversea.

           63.    As a result of the foregoing, the Silversea Transfers should be avoided as fraudulent

   transfers.

                                              COUNT II
                             Florida Statutes § 86: Declaratory Judgment

           64.    Plaintiff re-alleges paragraphs 1-53 as if fully set forth herein.

           65.    Plaintiff is entitled to 52.12% of the Silversea capital stock and its assets.




                                                    15
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 19 of 27




           66.     There is a bona fide, actual, present, practical need for a declaration that Plaintiff is

   entitled to 52.12% of the Silversea capital stock and assets currently in Royal Caribbean’s

   possession or control. The declaration concerns present, ascertained, or ascertainable facts, or a

   present controversy as to a state of facts.

           67.     Royal Caribbean has an adverse interest to Plaintiff’s interest with respect to the

   issue of Plaintiff’s entitlement to 52.12% of the Silversea capital stock and assets.

           68.     A declaratory judgment in favor of the Plaintiff is necessary and proper.

                                                COUNT III
                                             Unjust Enrichment

           69.     Plaintiff re-alleges paragraphs 1-53 as if fully set forth herein.

           70.     Plaintiff owned 52.12% of the capital stock of Silversea and its assets.

           71.     Prior to the Silversea Transfers, Royal Caribbean knew that Silversea’s capital

   stock and its assets were subject to Plaintiff’s claims of ownership and restitution.

           72.     Royal Caribbean obtained a benefit from Plaintiff. On July 31, 2018 and July 9,

   2020, Royal Caribbean obtained ownership of Silversea’s capital stock and its assets, 52.2% of

   which is rightfully owned by Plaintiff.

           73.     Royal Caribbean did not provide Plaintiff any compensation for Silversea’s capital

   stock or its assets.

           74.     As a result, Royal Caribbean has been unjustly enriched at Plaintiff’s expense and

   to his detriment, and to allow Royal Caribbean to retain the benefits without paying the value

   thereof to Plaintiff would result in a windfall to Royal Caribbean and would violate fundamental

   principles of good conscience, justice and equity.

           75.     As a direct and proximate result of Royal Caribbean being unjustly enriched,

   Plaintiff has suffered damages in an amount to be determined at trial.

                                                      16
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 20 of 27




                                               COUNT IV
                                               Conversion

          76.     Plaintiff re-alleges paragraphs 1-53 as if fully set forth herein.

          77.     Plaintiff is the owner of and has a superior claim of ownership to 52.12% of

   Silversea’s capital stock and assets.

          78.     On July 31, 2018 and July 9, 2020, Manfredi caused Silversea’s capital stock and

   its assets to be transferred to Royal Caribbean.

          79.     Royal Caribbean has since wrongfully exercised dominion and control over

   Silversea’s capital stock and assets that Plaintiff rightfully owns. Royal Caribbean’s exercise of

   dominion and control over that stock and assets is inconsistent with Plaintiff’s entitlement to that

   property.

          80.     Plaintiff did not authorize or approve of the transfer of Silversea’s capital stock and

   assets to Royal Caribbean.

          81.     Plaintiff notified Royal Caribbean of his superior claim of ownership to 52.12% of

   Silversea’s capital stock and assets on multiple occasions.

          82.     Royal Caribbean has not returned Silversea’s capital stock or assets to Plaintiff.

          83.     As a direct and proximate result of Royal Caribbean’s conversion of the Silversea

   capital stock and assets, Plaintiff has suffered damages in an amount to be determined at trial.

                                             COUNT V
                                   Aiding and Abetting Conversion

          84.     Plaintiff re-alleges paragraphs 1-53 as if fully set forth herein.

          85.     Plaintiff is the owner of and has a superior claim of ownership to 52.12% of

   Silversea’s capital stock and assets.




                                                      17
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 21 of 27




           86.     On July 31, 2018 and July 9, 2020, Manfredi caused Silversea’s capital stock and

   assets to be transferred to Royal Caribbean.

           87.     Plaintiff did not authorize or approve of the transfer of Silversea’s capital stock and

   assets to Royal Caribbean.

           88.     Prior to the Silversea Transfers, Royal Caribbean was aware that Manfredi did not

   own all of Silversea’s capital stock and assets, that Silversea’s capital stock and assets were subject

   to superior claims of ownership, and that Silversea’s capital stock and assets were subject to

   judicial claims of restitution.

           89.     Through the Silversea Transfers, Royal Caribbean participated and rendered

   substantial assistance to Manfredi and entities under his control in transferring Silversea’s capital

   stock and assets to Royal Caribbean.

           90.     Through the Silversea Transfers, Manfredi and Royal Caribbean deprived Plaintiff

   of his ownership and rights to Silversea’s capital stock and assets.

           91.     Neither Manfredi nor Royal Caribbean have returned Silversea’s capital stock or

   assets to Plaintiff.

           92.     As a direct and proximate result of Royal Caribbean aiding and abetting the

   conversion of the Silversea capital stock and assets, Plaintiff has suffered damages in an amount

   to be determined at trial.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                    a.     An order enjoining Royal Caribbean from disposing of, transferring, or

    encumbering 52.12% of the Silversea capital stock or its assets pursuant to Fla. Stat.

    § 726.108(1)(c)(1);



                                                     18
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 22 of 27




                   b.     An order enjoining Royal Caribbean from transferring any Royal Caribbean

    stock to Manfredi or any entity in Manfredi’s control in connection with the Silversea Transfer

    pursuant to Fla. Stat. § 726.108(1)(c)(1);

                   c.     An order attaching 52.12% of Silversea’s capital stock and its assets that

    were transferred to Royal Caribbean pursuant to the Silversea Transfers or other property of Royal

    Caribbean for Plaintiff’s benefit pursuant to Fla. Stat. § 726.108(1)(b);

                   d.     An order attaching any Royal Caribbean stock in Manfredi’s possession

    pursuant to the Silversea Transfers for Plaintiff’s benefit pursuant to Fla. Stat. § 726.108(1)(b);

                   e.     An order avoiding the Silversea Transfers to the extent necessary to satisfy

    Plaintiff’s claim pursuant to Fla. Stat. § 726.108(1)(a);

                   f.     An injunction against any disposition of 52.12% of Silversea’s capital stock

    and its assets pursuant to Fla. Stat. § 726.108(1)(c)(1);

                   g.     An order appointing a receiver to take charge of 52.12% of Silversea’s

    capital stock and its assets or other property of Royal Caribbean pursuant to Fla. Stat.

    § 726.108(1)(c)(2);

                   h.     A judgment against Royal Caribbean for the value of 52.12% of Silversea’s

    capital stock and its assets pursuant to Fla. Stat. § 726.109(2);

                   i.     An order for any other relief the circumstances may require pursuant to Fla.

    Stat. § 726.108(1)(c)(3);

                   j.     An award for damages in the amount that Royal Caribbean was unjustly

    enriched by obtaining 52.12% of Silversea’s capital stock and its assets;

                   k.     Damages for the conversion of 52.12% of Silversea’s capital stock and

    assets;



                                                     19
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 23 of 27




                   l.     Restitution to Plaintiff of 52.12% of Silversea’s capital stock and assets;

                   m.     An order requiring Royal Caribbean to disgorge the value of 52.12% of

    Silversea’s capital stock and assets and any profits earned on such property;

                   n.     An order requiring Royal Caribbean to account to Plaintiff for the value of

    52.12% of Silversea’s capital stock and assets and any profits earned on such property;

                   o.     An award of punitive damages, provided the Court grants Plaintiff leave to

    seek punitive damages, including an award of the costs of this action and Plaintiff’s attorneys’

    fees;

                   p.     An award of pre-judgment and post-judgment interest on any award of

    damages; and

                   q.     Such other and further relief as the Court deems just and proper.

                                             JURY DEMAND
                   Plaintiff hereby requests a trial by jury on all issues triable by jury.




                                                     20
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 24 of 27




    Dated: May 23, 2022
                                          Respectfully submitted,


                                          /s/ Carl Goldfarb                   F
                                          Carl Goldfarb
                                          BOIES SCHILLER FLEXNER LLP
                                          401 E. Las Olas Blvd., Suite 1200
                                          Fort Lauderdale, FL 33301
                                          Tel: (954) 356-0011
                                          Fax: (954) 356-0022

                                          David Boies
                                          Marc Ayala
                                          BOIES SCHILLER FLEXNER LLP
                                          333 Main Street
                                          Armonk, NY 10504
                                          Tel: (914) 749-8200




                                        21
FilingCase 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 25 of 27
       # 150134946  E-Filed 05/23/2022 04:17:32 PM



        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.      CASE STYLE

                     IN THE CIRCUIT/COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        Francesco Lefebvre d'Ovidio
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       Royal Caribbean Cruises Ltd
        Defendant



                II.     AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        ☐ $8,000 or less
        ☐ $8,001 - $30,000
        ☐ $30,001- $50,000
        ☐ $50,001- $75,000
        ☐ $75,001 - $100,000
        ☒ over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




                                                          -1-
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 26 of 27




   CIRCUIT CIVIL

   ☐ Condominium
   ☐ Contracts and indebtedness
   ☐ Eminent domain
   ☐ Auto negligence
   ☐ Negligence—other
         ☐ Business governance
         ☐ Business torts
         ☐ Environmental/Toxic tort
         ☐ Third party indemnification
         ☐ Construction defect
         ☐ Mass tort
         ☐ Negligent security
         ☐ Nursing home negligence
         ☐ Premises liability—commercial
         ☐ Premises liability—residential
   ☐ Products liability
   ☐   Real Property/Mortgage foreclosure
           ☐ Commercial foreclosure
           ☐ Homestead residential foreclosure
           ☐ Non-homestead residential foreclosure
           ☐ Other real property actions

   ☐Professional malpractice
         ☐ Malpractice—business
         ☐ Malpractice—medical
         ☐ Malpractice—other professional
   ☒ Other
         ☐ Antitrust/Trade regulation
         ☒ Business transactions
         ☐ Constitutional challenge—statute or ordinance
         ☐ Constitutional challenge—proposed amendment
         ☐ Corporate trusts
         ☐ Discrimination—employment or other
         ☐ Insurance claims
         ☐ Intellectual property
         ☐ Libel/Slander
         ☐ Shareholder derivative action
         ☐ Securities litigation
         ☐ Trade secrets
         ☐ Trust litigation


   COUNTY CIVIL

   ☐ Small Claims up to $8,000
   ☐ Civil
   ☐ Real property/Mortgage foreclosure
                                                     -2-
Case 1:22-cv-21629-FAM Document 1-1 Entered on FLSD Docket 05/26/2022 Page 27 of 27



   ☐ Replevins
   ☐ Evictions
         ☐ Residential Evictions
         ☐ Non-residential Evictions
   ☐ Other civil (non-monetary)

                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes ☒ No ☐

           IV.   REMEDIES SOUGHT (check all that apply):
           ☒ Monetary;
           ☒ Nonmonetary declaratory or injunctive relief;
           ☒ Punitive

           V.     NUMBER OF CAUSES OF ACTION: [ ]
           (Specify)

             5

           VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                   ☐ yes
                   ☒ no

           VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   ☒ no
                   ☐ yes If “yes,” list all related cases by name, case number, and court.


           VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                 ☒ yes
                 ☐ no


           IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                   ☐ yes
                   ☒ no


   I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
   my knowledge and belief, and that I have read and will comply with the requirements of
   Florida Rule of Judicial Administration 2.425.

   Signature: s/ Carl E. Goldfarb Esq.                    Fla. Bar # 125891
                  Attorney or party                                      (Bar # if attorney)

  Carl E. Goldfarb Esq.                            05/23/2022
   (type or print name)                            Date

                                                   -3-
